Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 1 of 31 PageID #: 643



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION

     JOE ANDREW SALAZAR                                 §
                                                        §
              Plaintiff                                 §
                                                        §
     vs.                                                §       CAUSE NO. 5:19-CV-75
                                                        §
     AT&T MOBILITY, LLC,                                §
     SPRINT/UNITED MANAGEMENT                           §
     COMPANY, T-MOBILE USA, INC.,                       §
     AND CELLCO PARTNERSHIP D/B/A                       §
     VERIZON WIRELESS                                   §
                                                        §
              Defendants.                               §

                                        PROTECTIVE ORDER

           WHEREAS, Plaintiff Joe Andrew Salazar and Defendants AT&T Mobility LLC,

Sprint/United Management Company, T-Mobile USA, Inc., and Cellco Partnership d/b/a Verizon

Wireless, hereafter referred to as “the Parties,” believe that certain information that is or will be

encompassed by discovery demands by the Parties involves the production or disclosure of trade

secrets, confidential business information, or other proprietary information;

           WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

with Federal Rule of Civil Procedure 26(c):

           THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.         Each Party may designate as confidential for protection under this Order, in whole or in

           part, any document, information or material that constitutes or includes, in whole or in part,

           confidential or proprietary information or trade secrets of the Party or a Third Party to

           whom the Party reasonably believes it owes an obligation of confidentiality with respect to
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 2 of 31 PageID #: 644



        such document, information or material (“Protected Material”). Protected Material shall

        be designated by the Party producing it by affixing a legend or stamp on such document,

        information or material as follows: “CONFIDENTIAL.” The word “CONFIDENTIAL”

        shall be placed clearly on each page of the Protected Material (except deposition and

        hearing transcripts) for which such protection is sought. For deposition and hearing

        transcripts, the word “CONFIDENTIAL” shall be placed on the cover page of the transcript

        (if not already present on the cover page of the transcript when received from the court

        reporter) by each attorney receiving a copy of the transcript after that attorney receives

        notice of the designation of some or all of that transcript as “CONFIDENTIAL.” All

        Protected Material not reduced to documentary, tangible or physical form or which cannot

        be conveniently designated as set forth in paragraph 2 shall be designated by the Producing

        Party by informing the Receiving Party of the designation in writing.

2.      Any document produced before issuance of this Order with the designation “Confidential”

        or “Confidential - Outside Attorneys’ Eyes Only” shall receive the same treatment as if

        designated “RESTRICTED - ATTORNEYS’ EYES ONLY” under this Order, unless and

        until such document is redesignated to have a different classification under this Order.

3.      With respect to documents, information or material designated “CONFIDENTIAL,”

        “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

        SOURCE CODE” (“DESIGNATED MATERIAL”),1 subject to the provisions herein and

        unless otherwise stated, this Order governs, without limitation: (a) all documents,



1
 The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the class of materials
designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED
CONFIDENTIAL SOURCE CODE,” both individually and collectively.




                                              Page 3 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 3 of 31 PageID #: 645



     electronically stored information, and/or things as defined by the Federal Rules of Civil

     Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as

     exhibits or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to

     pleadings and other court filings; (d) affidavits; and (e) stipulations.           All copies,

     reproductions, extracts, digests and complete or partial summaries prepared from any

     DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL and

     treated as such under this Order.

4.   A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED,”

     ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE”)

     may be made at any time. If it comes to a Producing Party’s attention that designated

     material does not qualify for protection at all, or does not qualify for the level of protection

     initially asserted, the Producing Party must promptly notify all other Parties that it is

     withdrawing or changing the designation. Inadvertent or unintentional production of

     documents, information or material that has not been designated as DESIGNATED

     MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential

     treatment. Any party that inadvertently or unintentionally produces Protected Material

     without designating it as such may request destruction of that Protected Material by

     notifying the recipient(s), as soon as reasonably possible after the producing Party becomes

     aware of the inadvertent or unintentional disclosure, and providing replacement Protected

     Material that is properly designated. The recipient(s) shall then destroy all copies of the

     inadvertently or unintentionally produced Protected Materials and any documents,

     information or material derived from or based thereon.




                                           Page 4 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 4 of 31 PageID #: 646



5.   In the event of any disclosure of DESIGNATED MATERIAL other than in a manner

     authorized by this Protective Order, including any unintentional or inadvertent disclosure,

     the Party responsible for having made such disclosure, and each Party with knowledge

     thereof, shall immediately notify counsel for the Producing Party and provide to such

     counsel all known relevant information concerning the nature and circumstances of the

     disclosure. The responsible disclosing Party shall also make every effort to further prevent

     unauthorized disclosure, including retrieving all copies of the DESIGNATED MATERIAL

     from the recipient(s) thereof, and securing the agreement of the recipients not to further

     disseminate the DESIGNATED MATERIAL in any form. Compliance with the foregoing

     shall not prevent the Producing Party from seeking further relief from the Court.

     Unauthorized or inadvertent disclosure does not change the status of DESIGNATED

     MATERIAL or waive the right to hold the disclosed document or information as Protected.

6.   To the extent that any one of Defendants in this litigation provides DESIGNATED

     MATERIAL under the terms of this Protective Order to Plaintiff, Plaintiff shall not share

     that material with the other Defendants in this litigation, absent express written permission

     from the producing Defendant. This Order does not confer any right to any one Defendant

     to access the DESIGNATED MATERIAL of any other Defendant.

7.   “CONFIDENTIAL” documents, information and material may be disclosed only to the

     following persons, except upon receipt of the prior written consent of the designating party,

     upon order of the Court, or as set forth in paragraph 12 herein:

        a. outside counsel of record in this Action for the Parties;

        b. employees of such counsel assigned to and reasonably necessary to assist such

            counsel in the litigation of this Action;




                                          Page 5 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 5 of 31 PageID #: 647



        c. in-house counsel for the Parties who either have responsibility for making decisions

           dealing directly with the litigation of this Action, or who are assisting outside

           counsel in the litigation of this Action, except that Defendants’ in-house counsel

           under    this   paragraph   shall   not      have   access   to   any Co-Defendants’

           CONFIDENTIAL information;

        d. up to and including three (3) designated representatives of each of the Parties to the

           extent reasonably necessary for the litigation of this Action, except that either party

           may in good faith request the other party’s consent to designate one or more

           additional representatives, the other party shall not unreasonably withhold such

           consent, and the requesting party may seek leave of Court to designate such

           additional representative(s) if the requesting party believes the other party has

           unreasonably withheld such consent, and except that Defendants’ designated

           representatives under this paragraph shall not have access to any Co-Defendants’

           CONFIDENTIAL information;

        e. outside consultants or experts (i.e., not existing employees or affiliates of a Party

           or an affiliate of a Party) retained for the purpose of this litigation, provided that:

           (1) such consultants or experts are not presently employed by the Parties hereto for

           purposes other than this Action; (2) before access is given, the consultant or expert

           has completed the Undertaking attached as Exhibit A hereto and the same is served

           upon the producing Party with a current curriculum vitae of the consultant or expert

           at least ten (10) days before access to the DESIGNATED MATERIAL is to be

           given to that consultant.The producing Party must notify the receiving Party in

           writing that it objects to disclosure of DESIGNATED MATERIAL to the




                                         Page 6 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 6 of 31 PageID #: 648



            consultant or expert prior to the expiration of ten (10) days. The Parties agree to

            promptly confer and use good faith to resolve any such objection. If the Parties are

            unable to resolve any objection, the objecting Party may file a motion with the

            Court within fifteen (15) days of the notice of the proposed disclosure, or within

            such other time as the Parties may agree, seeking a protective order with respect to

            the proposed disclosure. The objecting Party shall have the burden of proving the

            need for a protective order. No disclosure shall occur until all such objections are

            resolved by agreement or Court order;

        f. independent litigation support services, including legal translators retained to

            translate in connection with this action, persons working for or as court reporters,

            graphics or design services, jury or trial consulting services, and photocopy,

            document imaging, and database services retained by counsel and reasonably

            necessary to assist counsel with the litigation of this Action; and

        g. the Court and its personnel (under seal or with other suitable precautions

            determined by the Court).

        h. Any mediator who is assigned to hear this matter, and his or her staff, subject to

            their agreement to maintain confidentiality to the same degree as required by this

            Protective Order;

8.   A Party shall designate documents, information or material as “CONFIDENTIAL” only

     upon a good faith belief that the documents, information or material contains confidential

     or proprietary information or trade secrets of the Party or a Third Party to whom the Party

     reasonably believes it owes an obligation of confidentiality with respect to such documents,

     information or material.




                                         Page 7 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 7 of 31 PageID #: 649



9.    DESIGNATED MATERIAL, shall be used by the Parties only in the litigation of this

      Action and shall not be used for any other purpose. Any person or entity who obtains access

      to DESIGNATED MATERIAL or the contents thereof pursuant to this Order shall not

      make any copies, duplicates, extracts, summaries or descriptions of such DESIGNATED

      MATERIAL or any portion thereof except as may be reasonably necessary in the litigation

      of this Action. Any such copies, duplicates, extracts, summaries or descriptions shall be

      classified DESIGNATED MATERIAL and subject to all of the terms and conditions of

      this Order. All DESIGNATED MATERIAL shall be carefully maintained so as to preclude

      access by persons who are not entitled to receive such information.

10.   To the extent a producing Party believes that certain Protected Material qualifying to be

      designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

      limitation, the producing Party may designate such Protected Material as “RESTRICTED

      -- ATTORNEYS’ EYES ONLY,”2 or to the extent such Protected Material includes

      documents     containing    or   documenting       computer   source    code,    hardware

      configuration/description code, and/or live data (that is, data as it exists residing in a

      database or databases) (“Source Code Material”), the producing Party may designate such

      Protected Material as “RESTRICTED CONFIDENTIAL SOURCE CODE.”                            In

      determining whether information should be designated as                RESTRICTED –

      ATTORNEY’S EYES ONLY, each Party agrees to use such designation only in good faith.




2
 Documents marked CONFIDENTIAL OUTSIDE COUNSEL ONLY, CONFIDENTIAL
OUTSIDE ATTORNEYS’ EYES ONLY, HIGHLY CONFIDENTIAL or similar designation
shall be treated as if designated RESTRICTED – ATTORNEY’S EYES ONLY.


                                          Page 8 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 8 of 31 PageID #: 650



11.   For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY, access

      to, and disclosure of, such Protected Material shall be limited to individuals listed in

      paragraphs 8(a-b) and (e-g).

12.   For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE, the

      following additional restrictions apply:

         a. Source Code, to the extent any Producing Party agrees to provide any such

         information, shall ONLY be made available for inspection, not produced except as

         provided for below, and shall be made available in electronic format at one of the

         following locations chosen at the sole discretion of the Producing Party: (1) the offices

         of the Producing Party’s primary outside counsel of record in this action; (2) a single,

         third-party site located within any judicial district in which the Source Code is stored

         in the ordinary course of business (e.g., an escrow company); or (3) a location mutually

         agreed upon by the Receiving and Producing Parties. Any location under (1), (2) or (3)

         above shall be in the continental United States. Source Code will be loaded on a single,

         standalone, non-networked personal computer that is password protected, maintained

         in a secure, locked area, and disabled from having external storage devices attached to

         it (“Source Code Computer”). However, the Producing Party will make available and

         install at a Receiving Party’s request reasonable software for exploration and discovery

         of the Source Code on the Source Code Computer, and the Receiving Party agrees to

         pay any license or usage fees associated with such software. Use or possession of any

         input/output device or other electronic device (e.g., USB memory stick, cameras or any

         camera-enabled device, CDs, floppy disk, portable hard drive, laptop, cellular

         telephones, PDA, smartphones, voice recorders, etc.) is prohibited while in the secured,




                                          Page 9 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 9 of 31 PageID #: 651



        locked area containing the Source Code Computer. The Producing Party will also

        provide a nearby room for the expert and/or counsel to keep any computer equipment,

        cell phones, or other computers and other materials. All persons entering the locked

        room containing the Source Code must agree to submit to reasonable security measures

        to insure they are not carrying any prohibited items before they will be given access to

        the locked room. The Source Code Computer will be made available for inspection

        until the close of discovery in this action between the hours of 10 a.m. and 6 p.m. local

        time on business days (i.e., weekdays that are not Federal holidays), upon reasonable

        written notice to the Producing Party, which shall not be less than five (5) business days

        in advance of the requested inspection. Prior to the first inspection of any requested

        Source Code, the Receiving Party shall provide fourteen (14) days’ notice of the Source

        Code that it wishes to inspect. No Defendant shall be required to make Source Code

        available for inspection prior to the date set forth in the Court’s scheduling order for

        producing documents.

        b. The Receiving Party’s outside counsel and/or expert shall be entitled to take notes

        relating to the Source Code but may not copy any portion of the Source Code into the

        notes. Any notes relating to the Source Code will be treated as “RESTRICTED

        CONFIDENTIAL – SOURCE CODE.” No copies of all or any portion of the Source

        Code may leave the room in which the Source Code is inspected except as otherwise

        provided herein. Further, no other written or electronic record of the Source Code is

        permitted except as otherwise provided herein. The Producing Party may visually

        monitor the activities of the Receiving Party’s representative(s) during any Source




                                         Page 10 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 10 of 31 PageID #: 652



         Code review, but only to ensure that there is no unauthorized recording, copying, or

         transmission               of               the             Source                Code.

         c. No person shall copy, e-mail, transmit, upload, download, print, photograph or

         otherwise duplicate any portion of the designated Source Code, except as the Receiving

         Party may request a reasonable number of pages of Source Code to be printed on

         watermarked or colored pre-bates numbered paper, which shall be provided by the

         Producing Party. The Receiving Party may not request paper copies for the purposes

         of reviewing the Source Code other than electronically as set forth in paragraph (a) in

         the first instance. In no event may the Receiving Party print any continuous block of

         Source Code that result in more than 5 printed pages, or an aggregate total of more than

         100 pages per Producing Party during the duration of the case without prior written

         approval by the Producing Party. Within 5 business days or such additional time

         as necessary due to volume requested, the Producing Party will provide a copy

         of the requested material on watermarked or colored paper bearing Bates numbers

         and the legend “RESTRICTED CONFIDENTIAL – SOURCE CODE” unless

         objected to as discussed below. The printed pages shall constitute part of the Source

         Code produced by the Producing Party in this action. At the inspecting Parties’

         request, up to two additional sets (or subsets) (a total of up to three sets) of printed

         Source Code may be requested and provided by the Producing Party in a timely

         fashion, within five business days via a delivery service selected by the Producing

         Party.

         d. If the Producing Party objects that the printed portions are not reasonably necessary

         to any case preparation activity, the Producing Party shall make such objection known




                                         Page 11 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 11 of 31 PageID #: 653



         to the Receiving Party within five business days. If after meeting and conferring the

         Producing Party and the Receiving Party cannot resolve the objection (where such

         meet-and-confer need not take place in person), the Receiving Party may seek a Court

         resolution of whether the printed Source Code in question is reasonably necessary to

         any case preparation activity. Contested Source Code print outs need not be produced

         to the requesting party until the matter is resolved by the Court.

         e. The Receiving Party shall not create any electronic or other images of any printed

         pages of Source Code or any other documents or things reflecting Source Code that

         have been designated by the Producing Party as “RESTRICTED CONFIDENTIAL –

         SOURCE CODE.” The Receiving Party shall only make additional paper copies of

         selected excerpts of Source Code if such additional copies are necessary for any filing

         with the Court, the service of any pleading or other paper on any Party, testifying expert

         reports, consulting expert written analyses, deposition exhibits as discussed below, or

         any draft of these documents (“SOURCE CODE DOCUMENTS”). The Receiving

         Party shall only make additional copies of such excerpts as are reasonably necessary

         for the purposes for which such part of the Source Code is used. Any paper copies used

         during a deposition shall be retrieved by the Producing Party at the end of each day and

         must not be given to or left with a court reporter or any other individual.

         f. Any paper copies designated “RESTRICTED CONFIDENTIAL – SOURCE

         CODE” or notes, analyses or descriptions of such paper copies of Source Code shall be

         stored or viewed only at (i) the offices of outside counsel for the Receiving Party, (ii)

         the offices of outside experts or consultants who have been approved to access Source

         Code; (iii) the site where any deposition is taken (iv) the Court; or (v) any intermediate




                                          Page 12 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 12 of 31 PageID #: 654



         location necessary to transport the information to a hearing, trial or deposition. Any

         such paper copies or notes, analyses or descriptions of such paper copies of Source

         Code shall not be transported via mail service or any equivalent service and shall be

         maintained at all times in a secure location under the direct control of counsel

         responsible for maintaining the security and confidentiality of the designated materials

         and in a manner that prevents duplication of or unauthorized access to the Source Code,

         including, without limitation, storing the Source Code in a locked room or cabinet at

         all times, when it is not in use.

         g. A list of names of persons who will view the Source Code will be provided to the

         Producing Party in conjunction with any written (including email) notice requesting

         inspection. The Receiving Party shall maintain a daily log of the names of persons who

         enter the locked room to view the Source Code and when they enter and depart. The

         Producing Party shall be entitled to have a person observe all entrances and exits from

         the Source Code viewing room, and to a copy of the log upon request.

         h. Unless otherwise agreed in advance by the Parties in writing, following each

         inspection, the Receiving Party’s outside counsel and/or experts shall remove all notes,

         documents, and all other materials from the room that may contain work product and/or

         attorney-client privileged information. The Producing Party shall not be responsible

         for any items left in the room following each inspection session.

         i. The Receiving Party will not copy, remove, or otherwise transfer any portion of the

         Source Code from the Source Code Computer including, without limitation, copying,

         removing, or transferring any portion of the Source Code onto any other computers or




                                             Page 13 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 13 of 31 PageID #: 655



         peripheral equipment. The Receiving Party will not transmit any portion of the Source

         Code in any way from the location of the Source Code inspection.

         j. No recordable media or recordable devices, including without limitation sound

         recorders, computers, cellular telephones, peripheral equipment, cameras, CDs, DVDs,

         or drives of any kind, shall be permitted into the Source Code reviewing room. The

         Producing Party may visually monitor the activities of the Receiving Party's

         representatives during any Source Code review, but only to ensure that no unauthorized

         electronic records of the Source Code and no information concerning the Source Code

         are being created or transmitted in any way.

         k. Only the following individuals shall have access to “RESTRICTED

         CONFIDENTIAL – SOURCE CODE” materials, absent the express written consent of

         the Producing Party or further court order:

                 i. Outside counsel of record for the Parties to this action, including any

                    attorneys, paralegals, technology specialists and clerical employees of their

                    respective law firms;

                ii. Up to three (3) outside experts or consultants per Party, pre-approved in

                    accordance with Paragraphs 8.e and specifically identified as eligible to

                    access Source Code;

               iii. The Court, its technical advisor (if one is appointed), the jury, court

                    personnel, and court reporters or videographers recording testimony or

                    other proceedings in this action. Court reporters and/or videographers shall

                    not retain or be given copies of any portions of the Source Code; for

                    depositions, the Receiving Party shall not bring copies of any printed Source




                                         Page 14 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 14 of 31 PageID #: 656



                   Code. Rather, at least five (5) business days before the date of the deposition,

                   the Receiving Party shall notify the Producing Party about the specific

                   portions of Source Code it wishes to use at the deposition, and the Producing

                   Party shall bring printed copies of those portions to the deposition for use by

                   the Receiving Party. Copies of Source Code that are marked as deposition

                   exhibits shall not be provided to the Court Reporter or attached to deposition

                   transcripts; rather, the deposition record will identify the exhibit by its

                   production numbers.

               iv. While testifying at deposition or trial in this action only: (i) any current or

                   former officer, director or employee of the Producing Party or original

                   source of the information; (ii) any person designated by the Producing Party

                   to provide testimony pursuant to Rule 30(b)(6) of the Federal Rules of Civil

                   Procedure ; and/or (iii) any person who authored, previously received (other

                   than in connection with this litigation), or was directly involved in creating,

                   modifying, or editing the Source Code, as evident from its face or

                   reasonably certain in view of other testimony or evidence. Persons

                   authorized to view Source Code pursuant to this sub-paragraph shall not

                   retain or be given copies of the Source Code except while so testifying.

         l. The Receiving Party’s outside counsel shall maintain a log of all copies of the

            Source Code (received from a Producing Party or created by the Receiving Party

            pursuant to paragraph 1(C)(f) above) that are delivered by the Receiving Party to

            any qualified person under Paragraph 1(C)(l) above. The log shall include the

            names of the recipients and reviewers of copies, the dates when such copies were




                                         Page 15 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 15 of 31 PageID #: 657



            provided, and the locations where the copies are stored. Upon request by the

            Producing Party, the Receiving Party shall provide reasonable assurances and/or

            descriptions of the security measures employed by the Receiving Party and/or

            qualified person that receives a copy of any portion of the Source Code. Within

            thirty (30) days after the issuance of a final non-appealable decision resolving all

            issues in the case, the Receiving Party must serve upon the Producing Party the log

            and serve upon the Producing Party all paper copies of the Producing Party’s Source

            Code as well as documents, pleadings, reports, and notes reflecting or referring to

            such Source Code. In addition, all persons to whom the paper copies of the Source

            Code were provided must certify in writing that all copies of the Source Code were

            returned to the counsel who provided them the information and that they will make

            no use of the Source Code or of any knowledge gained from the Source Code in

            any future endeavor.

         m. To the extent portions of Source Code are quoted in a SOURCE CODE

            DOCUMENT, either (1) the entire document will be stamped and treated as

            RESTRICTED CONFIDENTIAL – SOURCE CODE or (2) those pages containing

            quoted Source Code will be separately bound, and stamped and treated as

            RESTRICTED CONFIDENTIAL – SOURCE CODE.

         n. All copies of any portion of the Source Code shall be returned to the Producing

            Party if they are no longer in use. Copies of Source Code that are marked as

            deposition exhibits shall not be provided to the Court Reporter or attached to

            deposition transcripts; rather, the deposition record will identify the exhibit by its

            production numbers.




                                         Page 16 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 16 of 31 PageID #: 658



         o. The Receiving Party’s outside counsel may only disclose a copy of the Source Code

             to individuals specified in Paragraph l above (e.g., Source Code may not be

             disclosed to in-house counsel). In no case shall any information designated as

             RESTRICTED CONFIDENTIAL – SOURCE CODE by a Defendant be provided

             to any other Defendant or Defendant’s counsel by any Party or counsel absent

             explicit agreement from the Party designating the information.

         p. Any technical advisor retained on behalf of a Receiving Party who is to be given

             access to a Producing Party’s produced Source Code (whether in electronic form or

             otherwise) must agree in writing not to perform software development work

             directly or indirectly intended for commercial purposes relating to any functionality

             covered by the Source Code reviewed by such expert or consultant for a period of

             one year after the issuance of a final, non-appealable decision resolving all issues

             in the case. This shall not preclude such experts or consultants from consulting in

             future litigation, so long as such consulting does not involve software development

             work directly or indirectly intended for commercial purposes relating to any

             functionality covered by the Source Code reviewed by such expert or consultant.

         q. Access to and review of the Source Code shall be strictly for the purpose of

             investigating the claims and defenses at issue in the above-captioned case. No

             person shall review or analyze any Source Code for purposes unrelated to this case,

             nor may any person use any knowledge gained as a result of reviewing Source Code

             in this case in any other pending or future dispute, proceeding, or litigation.

13.   Any attorney representing Plaintiff, whether in-house or outside counsel, and any person

      associated with a Party and permitted to receive the other Party’s Protected Material that




                                          Page 17 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 17 of 31 PageID #: 659



      is designated RESTRICTED -- ATTORNEYS’ EYES ONLY and/or RESTRICTED

      CONFIDENTIAL SOURCE CODE (collectively “HIGHLY SENSITIVE MATERIAL”),

      who obtains, receives, has access to, or otherwise learns, in whole or in part, the other

      Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not prepare, prosecute,

      supervise, or assist in the preparation or prosecution of any patent application pertaining to

      the field of the invention of the patents-in-suit on behalf of the receiving Party or its

      acquirer, successor, predecessor, or other affiliate during the pendency of this Action and

      for three years after its conclusion, including any appeals. To ensure compliance with the

      purpose of this provision, each Party shall create an “Ethical Wall” between those persons

      with access to HIGHLY SENSITIVE MATERIAL and any individuals who, on behalf of

      the Party or its acquirer, successor, predecessor, or other affiliate, prepare, prosecute,

      supervise or assist in the preparation or prosecution of any patent application pertaining to

      the field of the invention of the patent-in-suit.

14.   Nothing in this Order shall require production of documents, information or other material

      that a Party contends is protected from disclosure by the attorney-client privilege, the work

      product doctrine, or other privilege, doctrine, or immunity. If documents, information or

      other material subject to a claim of attorney-client privilege, work product doctrine, or

      other privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

      production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

      any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

      produces documents, information or other material it reasonably believes are protected

      under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or

      immunity may obtain the return of such documents, information or other material by




                                            Page 18 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 18 of 31 PageID #: 660



      promptly notifying the recipient(s) and providing a privilege log for the inadvertently or

      unintentionally produced documents, information or other material. The recipient(s) shall

      gather and return all copies of such documents, information or other material to the

      producing Party, except for any pages containing privileged or otherwise protected

      markings by the recipient(s), which pages shall instead be destroyed and certified as such

      to the producing Party.

15.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

      to have access thereto to any person who is not authorized for such access under this Order.

      The Parties are hereby ORDERED to safeguard all such documents, information and

      material to protect against disclosure to any unauthorized persons or entities.

16.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

      DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided

      that the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to

      have access to the DESIGNATED MATERIAL by virtue of his or her employment with

      the designating party, (ii) identified in the DESIGNATED MATERIAL as an author,

      addressee, or copy recipient of such information, (iii) although not identified as an author,

      addressee, or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary

      course of business, seen such DESIGNATED MATERIAL, (iv) a current or former officer,

      director or employee of the producing Party or a current or former officer, director or

      employee of a company affiliated with the producing Party; (v) counsel for a Party,

      including outside counsel and in-house counsel (subject to paragraph 9 of this Order); (vi)

      an independent contractor, consultant, and/or expert retained for the purpose of this

      litigation; (vii) court reporters and videographers; (viii) the Court; or (ix) other persons




                                          Page 19 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 19 of 31 PageID #: 661



      entitled hereunder to access to DESIGNATED MATERIAL. DESIGNATED MATERIAL

      shall not be disclosed to any other persons unless prior authorization is obtained from

      counsel representing the producing Party or from the Court.

17.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a final

      deposition or hearing transcript, designate the deposition or hearing transcript or any

      portion thereof as “CONFIDENTIAL,” “RESTRICTED -- ATTORNEY’S EYES ONLY,”

      or “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access to

      the deposition or hearing transcript so designated shall be limited in accordance with the

      terms of this Order. Until expiration of the 30-day period, the entire deposition or hearing

      transcript shall be treated as “RESTRICTED – ATTORNEY’S EYES ONLY”.

18.   Even in the absence of a designation by a party of a deposition or hearing transcript, any

      DESIGNATED MATERIAL that is used in the taking of a deposition shall remain subject

      to the provisions of this Protective Order, along with the transcript pages of the deposition

      testimony   incorporating    or   discussing     DESIGNATED        MATERIAL.          Where

      DESIGNATED MATERIAL is used in a deposition or hearing, the court reporter shall be

      informed of this Protective Order and shall be required to operate in a manner consistent

      with this Protective Order. In the event the deposition is videotaped, the original and all

      copies of the videotape shall be marked by the video technician to indicate that the contents

      of the videotape are subject to this Protective Order, substantially along the lines of “This

      videotape contains confidential testimony used in this case and is not to be viewed or the

      contents thereof to be displayed or revealed except pursuant to the terms of the operative

      Protective Order in this matter or pursuant to written stipulation of the Parties.”




                                           Page 20 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 20 of 31 PageID #: 662



19.   Counsel for any Producing Party shall have the right to exclude from oral depositions, other

      than the deponent, deponent’s counsel, the reporter and videographer (if any), any person

      who is not authorized by this Protective Order to receive or access DESIGNATED

      MATERIAL based on the designation of such DESIGNATED MATERIAL. Such right

      of exclusion shall be applicable only during periods of examination or testimony regarding

      such DESIGNATED MATERIAL.

20.   No Party may remove, or cause to be removed, DESIGNATED MATERIAL produced by

      another Party from the territorial boundaries of the United States of America. Without

      limitation, this prohibition extends to DESIGNATED MATERIAL (including copies) in

      physical and electronic form. The viewing of DESIGNATED MATERIAL through

      electronic means outside the territorial limits of the United States of America is similarly

      prohibited. Notwithstanding this prohibition, DESIGNATED MATERIAL, exclusive of

      material designated RESTRICTED CONFIDENTIAL – SOURCE CODE, and to the

      extent otherwise permitted by law, may be taken outside the territorial limits of the United

      States if it is reasonably necessary for a deposition in this litigation taken in a foreign

      country. The restrictions contained within this paragraph may be amended through the

      consent of the producing Party to the extent that such agreed to procedures conform with

      applicable export control laws and regulations.

21.   No Defendant is required to produce its Protected Material to any other Defendant or

      Defendants, or to any other Defendant’s or Defendants’ counsel, but nothing in this Order

      shall preclude such production. To the extent that any one of Defendants in this Action

      provides DESIGNATED MATERIAL under the terms of this Protective Order to Plaintiff,

      Plaintiff shall not share that DESIGNATED MATERIAL with the other Defendants in this




                                          Page 21 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 21 of 31 PageID #: 663



      Action, absent express written permission from the producing Defendant. This Order does

      not confer any right to any one Defendant to access the DESIGNATED MATERIAL of

      any other Defendant.

22.   Nothing in this Order shall restrict in any way the use or disclosure of DESIGNATED

      MATERIAL by a Receiving Party: (i) previously produced, disclosed and/or provided by

      the Producing Party to the Receiving Party or a non-party without an obligation of

      confidentiality (e.g., being subject to a Protective Order) and not by inadvertence or

      mistake; (ii) with the consent of the Producing Party; or (iii) pursuant to order of the Court.

23.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

      shall remain under seal until further order of the Court. The filing party shall be responsible

      for informing the Clerk of the Court that the filing should be sealed and for placing the

      legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

      caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

      the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,

      or an exhibit thereto, discloses or relies on confidential documents, information or material,

      such confidential portions shall be redacted to the extent necessary and the pleading or

      exhibit filed publicly with the Court.

24.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

      the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

      this Action, or from using any information contained in DESIGNATED MATERIAL at

      the trial of this Action, subject to any pretrial order issued by this Court. A Party shall

      provide a minimum of two business days’ notice to the Producing Party in the event that a

      Party intends to use any DESIGNATED MATERIAL during trial. In addition, the Parties




                                           Page 22 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 22 of 31 PageID #: 664



      will not oppose any request by the Producing Party that the courtroom should be sealed, if

      allowed by the Court, during the presentation of any testimony relating to or involving the

      use of any DESIGNATED MATERIAL.

25.   A Party may request in writing to the other Party that the designation given to any

      DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

      agree to redesignation within ten (10) days of receipt of the written request, the requesting

      Party may apply to the Court for relief. Upon any such application to the Court, the burden

      shall be on the designating Party to show why its classification is proper. Such application

      shall be treated procedurally as a motion to compel pursuant to Federal Rules of Civil

      Procedure 37, subject to the Rule’s provisions relating to sanctions. In making such

      application, the requirements of the Federal Rules of Civil Procedure and the Local Rules

      of the Court shall be met. Pending the Court’s determination of the application, the

      designation of the designating Party shall be maintained.

26.   DESIGNATED MATERIAL shall not be copied or otherwise produced by a Receiving

      Party, except for transmission to qualified recipients, without the written permission of the

      Producing Party, or, in the alternative, by further order of the Court. Nothing herein shall,

      however, restrict a qualified recipient from making working copies, abstracts, digests and

      analyses of CONFIDENTIAL and CONFIDENTIAL -- ATTORNEY’S EYES ONLY

      information for use in connection with this litigation and such working copies, abstracts,

      digests and analyses shall be deemed DESIGNATED MATERIAL under the terms of this

      Order. Further, nothing herein shall restrict a qualified recipient from converting or

      translating CONFIDENTIAL and CONFIDENTIAL OUTSIDE COUNSEL ONLY

      information into machine readable form for incorporation into a data retrieval system used




                                          Page 23 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 23 of 31 PageID #: 665



      in connection with this action, provided that access to that DESIGNATED MATERIAL,

      in whatever form stored or reproduced, shall be limited to qualified recipients.

27.   To the extent that any discovery is taken of persons who are not Parties to this Action

      (“Third Parties”) and in the event that such Third Parties contended the discovery sought

      involves trade secrets, confidential business information, or other proprietary information,

      then such Third Parties may agree to be bound by this Order.

28.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

      designate as “CONFIDENTIAL” or “RESTRICTED -- ATTORNEYS’ EYES ONLY” any

      documents, information or other material, in whole or in part, produced or give by such

      Third Parties. The Third Parties shall have ten (10) days after production of such

      documents, information or other materials to make such a designation. Until that time

      period lapses or until such a designation has been made, whichever occurs sooner, all

      documents, information or other material so produced or given shall be treated as

      “CONFIDENTIAL” in accordance with this Order.

29.   Within thirty (30) days of final termination of this Action, including any appeals, all

      DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

      summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or extracts

      incorporated into any privileged memoranda of the Parties and materials which have been

      admitted into evidence in this Action), shall at the producing Party’s election either be

      returned to the producing Party or be destroyed. The receiving Party shall verify the return

      or destruction by affidavit furnished to the producing Party, upon the producing Party’s

      request. In the event that a Party is dismissed before the entry of a final non-appealable

      judgment or order, this same procedure shall apply to any DESIGNATED MATERIAL




                                          Page 24 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 24 of 31 PageID #: 666



      received from or produced to the dismissed Party. Notwithstanding this provision, outside

      litigation counsel of record are not required to delete information that may reside on their

      respective firm’s electronic back-up systems that are over-written in the normal course of

      business. Notwithstanding the foregoing, outside counsel shall be entitled to maintain two

      (2) copies of all pleadings, motions and trial briefs (including all supporting and opposing

      papers), written discovery requests and responses, deposition transcripts, trial transcripts,

      any exhibits or attachments to the foregoing, and exhibits offered or introduced into

      evidence at any hearing or trial, and their attorney work product which refers or is related

      to any CONFIDENTIAL and CONFIDENTIAL – ATTORNEY’S EYES ONLY

      information for archival purposes only. Any such archived copies that contain or constitute

      DESIGNATED MATERIAL remain subject to this Order and shall be maintained in

      confidence by outside counsel for the Party retaining the materials. All Parties that have

      received any such DESIGNATED MATERIAL shall certify in writing that all such

      materials have been returned to the respective outside counsel of the producing Party or

      destroyed.

30.   Outside attorneys of record for the Parties are hereby authorized to be the persons who may

      retrieve confidential exhibits and/or other confidential matters filed with the Court upon

      termination of this litigation without further order of this Court, and are the persons to

      whom such confidential exhibits or other confidential matters may be returned by the Clerk

      of the Court, if they are not so retrieved. No material or copies thereof so filed shall be

      released except by order of the Court, to outside counsel of record, or as otherwise provided

      for hereunder. Notwithstanding the foregoing and with regard to material designated as




                                          Page 25 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 25 of 31 PageID #: 667



      RESTRICTED CONFIDENTIAL – SOURCE CODE, the provisions of Paragraph 14 are

      controlling to the extent those provisions differ from this paragraph.

31.   The failure to designate documents, information or material in accordance with this Order

      and the failure to object to a designation at a given time shall not preclude the filing of a

      motion at a later date seeking to impose such designation or challenging the propriety

      thereof. The entry of this Order and/or the production of documents, information and

      material hereunder shall in no way constitute a waiver of any objection to the furnishing

      thereof, all such objections being hereby preserved.

32.   Any Party knowing or believing that any other party is in violation of or intends to violate

      this Order and has raised the question of violation or potential violation with the opposing

      party and has been unable to resolve the matter by agreement may move the Court for such

      relief as may be appropriate in the circumstances. Pending disposition of the motion by the

      Court, the Party alleged to be in violation of or intending to violate this Order shall

      discontinue the performance of and/or shall not undertake the further performance of any

      action alleged to constitute a violation of this Order.

33.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

      publication of the documents, information and material (or the contents thereof) produced

      so as to void or make voidable whatever claim the Parties may have as to the proprietary

      and confidential nature of the documents, information or other material or its contents.

34.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any

      kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

      If information subject to a claim of attorney-client privilege, work product immunity, or

      other privilege, doctrine, right, or immunity is nevertheless inadvertently or unintentionally




                                           Page 26 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 26 of 31 PageID #: 668



      produced or made available for inspection, such disclosure shall in no way prejudice or

      otherwise constitute a waiver or estoppel as to any such privilege, doctrine, right or

      immunity, or other ground for withholding production to which the Producing Party would

      otherwise be entitled to assert. Any Party that inadvertently produces or makes available

      for inspection materials protected by the attorney-client privilege, work product privilege,

      or other privilege, doctrine, right, or immunity may obtain the return of those materials by

      promptly notifying the recipient(s). The Producing Party shall provide a privilege log for

      any relevant inadvertently produced materials as soon as reasonably possible after

      requesting their return. The recipient(s) shall gather and return all copies of the privileged

      material to the Producing Party no later than seven (7) business days after receiving a

      request for their return, except for any pages containing privileged markings by the

      recipient, which pages shall instead be destroyed and certified as such by the recipient to

      the Producing Party. The recipient shall also destroy and certify such destruction within

      seven (7) business days after receiving a request for return of inadvertently produced

      materials all documents or parts thereof summarizing or otherwise disclosing the content

      of the inadvertently produced material and shall not use such material for any purpose.

      Notwithstanding this provision, outside litigation counsel of record are not required to

      delete information that may reside on their respective firm’s electronic back-up systems

      that are over-written in the normal course of business.

35.   If the Receiving Party contests the privilege or work product designation by the Producing

      Party, the Receiving Party shall give the Producing Party written notice of the reason for

      the disagreement. The Receiving Party shall seek an Order from the Court compelling the

      production of the material. If no such Order is sought within thirty (30) days, then all




                                           Page 27 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 27 of 31 PageID #: 669



      copies of the disputed document shall be returned in accordance with paragraph 6. Absent

      a Court Order to the contrary, the Parties hereby agree and stipulate that any privilege or

      immunity that was originally present will remain intact once any such document is returned

      or confirmed as destroyed by the recipient.

36.   If any entity subpoenas or orders production of Protected Material from a Receiving Party

      that the Receiving Party has obtained subject to this Order, such Party shall (1) promptly

      notify the entity that issued the subpoena or order that some or all of the material covered

      by the subpoena or order is subject to this protective order, and provide a copy of this order,

      (2) promptly notify the Producing Party of the pendency of the subpoena or order, provide

      a copy of the subpoena to the Producing Party, and (3) provide the Producing Party with a

      list of the DESIGNATED MATERIAL that the Receiving Party believes it is obligated to

      produce. The Receiving party shall not produce the information until the producing party

      shall have reasonable time (which shall not be less than ten (10) calendar days) to object

      to or take other appropriate steps to protect the information. The Receiving Party shall not

      take a position concerning the propriety of such request or subpoena or the discoverability

      of the information sought thereby that is adverse to any Producing Party opposing the

      request for production of such documents or materials. In responding to the subpoena or

      order, the Receiving Party will take all reasonable measures to have such documents

      treated in accordance with the terms of this Protective Order. Compliance with another

      Court’s order to produce Protected Material shall not be a violation of this Protective

      Order, provided that the above notification provisions are met.




                                           Page 28 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 28 of 31 PageID #: 670



37.   Testifying experts shall not be subject to discovery of any draft of their reports in this case

      and such draft reports, notes, outlines, or any other writings leading up to an issued report(s)

      in this litigation are exempt from discovery. In addition, all communications between

      counsel for a Party and that Party’s testifying expert(s) related to the content of expert

      reports are exempt from discovery, provided that this limitation on discovery does not

      permit a Party to withhold any material relied upon by testifying experts solely on the

      ground that such material was provided to the expert by counsel. All materials generated

      by a testifying expert with respect to that person’s work are also exempt from discovery

      unless they identify facts, data or assumptions relied upon by the expert in forming any

      opinions in this litigation and such information is not already disclosed in the expert’s

      report.

38.   No Party shall be required to identify on their respective privilege log any document or

      communication related to this litigation dated on or after the filing of this lawsuit, which

      absent this provision, the Party would have been obligated to so identify on said privilege

      log. The Parties shall exchange their respective privilege document logs at a time to be

      agreed upon by the Parties following the production of documents.

39.   Nothing in this Order shall limit any Producing Party’s use of its own documents or shall

      prevent any Producing Party from disclosing its own Protected Information to any person.

      Such disclosures shall not affect any CONFIDENTIAL, CONFIDENTIAL OUTSIDE

      COUNSEL ONLY, or RESTRICTED CONFIDENTIAL - SOURCE CODE designation

      made pursuant to the terms of this Order so long as disclosure is not publicly disclosed, but

      is made in a manner which is reasonably calculated to maintain the confidentiality of the

      information.




                                           Page 29 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 29 of 31 PageID #: 671



40.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify

      this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

      entities if reasonably necessary to prepare and present this Action and (b) to apply for

      additional protection of DESIGNATED MATERIAL.

41.   The United States District Court for the Eastern District of Texas is responsible for the

      interpretation and enforcement of this Agreed Protective Order. After termination of this

      litigation, the provisions of this Agreed Protective Order shall continue to be binding

      except with respect to those documents and information that become a matter of public

      record. This Court retains and shall have continuing jurisdiction over the Parties and

      recipients of the Protected Information for enforcement of the provision of this Agreed

      Protective Order following termination of this litigation. All disputes concerning Protected

      Information produced under the protection of this Agreed Protective Order shall be

      resolved by the United States District Court for the Eastern District of Texas. In the event

      anyone shall violate or threaten to violate the terms of this Protective Order, the aggrieved

      designating Party may immediately apply to obtain injunctive relief against any such

      person violating or threatening to violate any of the terms of this Protective Order.

42.   Nothing in this Protective Order shall preclude or impede outside litigation counsel of

      record’s ability to communicate with or advise their client in connection with this litigation

      only based on such counsel’s review and evaluation of Protected Information, provided

      however, that such communications or advice shall not disclose or reveal the substance or

      content of any Protected Information other than as permitted under this Protective Order.

43.   This Protective Order shall be binding upon the Parties and their attorneys, successors,

      executors, personal representative, administrators, heirs, legal representatives, assigns,




                                           Page 30 of 32
.
    Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 30 of 31 PageID #: 672



          subsidiaries, divisions, employees, agents, independent contractors, or other persons or

          organizations over which they have control.

    44.   All notices required by this Protective Order are to be served on the attorney(s) for each of

          the Defendants and Plaintiff listed in the signature block below for each Party.


    So ORDERED and SIGNED this 21st day of November, 2019.




                                                      ____________________________________
                                                      ROBERT W. SCHROEDER III
                                                      UNITED STATES DISTRICT JUDGE




                                              Page 31 of 32
Case 2:20-cv-00004-JRG Document 59 Filed 11/21/19 Page 31 of 31 PageID #: 673




                                             EXHIBIT A


       I,                                                                 , acknowledge and

declare that I have received a copy of the Protective Order (“Order”) in Salazar v. AT&T

Mobility, LLC et al., No. 5:19-cv-75 (E.D. Tex. June 18, 2019). Having read and understood

the terms of the Order, I agree to be bound by the terms of the Order and consent to the

jurisdiction of said Court for the purpose of any proceeding to enforce the terms of the Order.


       Name of individual:
       Present occupation/job description:
       Name of Company or Firm:
       Address:

       Dated:



                                                    Signature




                                          Page 32 of 32
